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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
ROBERT STOLARIK,                                               )   Civil Action No. 15-5858

                                   Plaintiff,                 )    COMPLAINT

                 -against-                                    )
                                                                   JURY TRIAL DEMANDED
                                                              )
THE CITY OF NEW YORK, NYPD POLICE
OFFICER MICHAEL ACKERMANN, and                                )
JOHN DOES 1-6
                                                              )
                                    Defendants.                    ECF Case
---------------------------------------------------------------x


        Plaintiff ROBERT STOLARIK, by his attorneys, the Law Office of Ronald L. Kuby,

hereby brings this action under 42 U.S.C. §1983 to redress his civil and legal rights, and alleges

as follows:

                                     PRELIMINARY STATEMENT

        1.       This is a civil rights action in which the Plaintiff, ROBERT STOLARIK, seeks

relief for the Defendants’ violations of his rights secured by 42 U.S.C. §1983 and by the United

States Constitution, including its Fourth and Fourteenth Amendments, for his wrongful arrest and

malicious prosecution. Plaintiff, an accomplished photojournalist, was simply doing his job when

an NYPD police officer ordered Plaintiff to stop taking photographs, and when he did not,

Plaintiff was arrested without probable cause. The arresting officer then falsified official records

in order to justify Plaintiff’s wrongful arrest. Plaintiff seeks compensatory and punitive damages,

an award of costs, interest and attorney’s fees, and such other and further relief as this Court

deems just and proper.

                                      JURISDICTION AND VENUE

        2.       This action is brought pursuant to 42 U.S.C. §§1983 and 1988, and the Fourth and
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Fourteenth Amendments to the United States Constitution. Jurisdiction is conferred upon this

Court by 28 U.S.C. §§1331 and 1343, this being an action seeking redress for the violation of the

Plaintiff’s constitutional and civil rights.

          3.    Venue in this District is also proper under 28 U.S.C. §1391(b) and (c) in that

Defendant CITY OF NEW YORK is administratively located within the Southern District of

New York, and the events giving rise to this claim occurred within the boundaries of the

Southern District of New York.

          4.    As mandated by the Supremacy Clause, in relation to actions brought pursuant to

42 U.S.C. §1983, Plaintiff is not required to comply with N.Y. Gen. Mun. L. sec. 50-h with

regard to filing a Notice of Claim.

                                    JURY TRIAL DEMANDED

          5.    Plaintiff demands a trial by jury on each and every one of his claims as pleaded

herein.

                                               PARTIES

          6.    At all times relevant to this action, Plaintiff ROBERT STOLARIK was a resident

of Kings County, New York.

          7.    Defendant CITY OF NEW YORK is and was at all times relevant herein a

municipal entity created and authorized under the laws of the State of New York. It is authorized

by law to maintain a police department, which acts as its agent in the area of law enforcement

and for which it is ultimately responsible. Defendant CITY OF NEW YORK assumes the risks

incidental to the maintenance of a police force and the employment of police officers. Defendant

CITY OF NEW YORK was at all times relevant herein the public employer of Defendant NYPD

Police Officer MICHAEL ACKERMANN and JOHN DOES 1-6.



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         8.     Defendant ACKERMANN and JOHN DOES 1-6 were at all times relevant herein

duly appointed and acting officers, servants, employees and agents of the New York City Police

Department, a municipal agency of Defendant CITY OF NEW YORK. At all times relevant

herein, the individual defendants were acting under color of the laws, statutes, ordinances,

regulations, policies, customs and/or usages of the State of New York and the New York City

Police Department, in the course and scope of their duties and functions as officers, agents,

servants, and employees of Defendant CITY OF NEW YORK, were acting for, and on behalf of,

and with the power and authority vested in them by the CITY OF NEW YORK and the New

York City Police Department, and were otherwise performing and engaging in conduct

incidental to the performance of their lawful functions in the course of their duties. They are sued

individually and in their official capacities.

         9.     By the conduct, acts, and omissions complained of herein, Defendant

ACKERMANN and JOHN DOES 1-6 violated clearly established constitutional standards under

the Fourth and Fourteenth Amendments to the United States Constitution of which a reasonable

police officer under the circumstances would have known.



                                    STATEMENT OF FACTS

         10.    Plaintiff Robert J. Stolarik, who is 46 years old, is an accomplished freelance

photographer. Plaintiff has worked regularly as a photojournalist for the New York Times since

2000.

         11.    On August 4, 2012, Plaintiff was on assignment for the New York Times with

two reporters who were conducting street interviews in the Concourse neighborhood of the

Bronx.



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       12.     Plaintiff was taking photographs of a brewing street fight at McClennan Street

and Sheridan Avenue when, at approximately 10:30 p.m., Defendant ACKERMANN of the New

York City Police Department’s 44th Precinct and JOHN DOES 1-6 arrived on the scene and

arrested a teenage girl.

       13.     Plaintiff was then instructed by an unknown female officer to stop taking

photographs. In response, Plaintiff identified himself as a photojournalist for the New York

Times and continued taking photographs.

       14.     Defendant ACKERMANN then approached Plaintiff and aggressively pushed the

camera into Plaintiff’s face. When Plaintiff repeatedly asked for the officers’ badge numbers,

Defendant ACKERMANN and JOHN DOES 1-6 grabbed Plaintiff’s cameras and dragged

Plaintiff to the ground. While on the ground, Plaintiff was surrounded by up to six police

officers. Defendants ACKERMANN and JOHN DOES 1-6 dragged, kicked, and stomped on

Plaintiff while he was on the ground. As a result, Plaintiff sustained scrapes and bruises to his

arms, legs, and face.

       15.     Defendant ACKERMANN then placed Plaintiff under arrest and transported him

to the 44th Precinct station. Despite their knowledge of the absence of probable cause to arrest

Plaintiff, Defendant JOHN DOES 1-6 failed to intervene to prevent Plaintiff’s wrongful arrest.

Plaintiff was held at the Precinct until 4:40 a.m. the next morning.

       16.     In order to justify his baseless arrest of Plaintiff, Defendant ACKERMANN

fabricated the circumstances underlying the arrest. In the criminal complaint filed against

Plaintiff on October 19, 2012, Defendant ACKERMANN falsely claimed that Plaintiff interfered

with his arrest of the teenage girl by repeatedly discharging his camera’s flash in his face, which

he claimed blinded him and prevented him from performing his duties. Plaintiff was charged



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with Resisting Arrest under P.L. 205.30, Obstructing Governmental Administration under P.L.

195.05, Disorderly Conduct under P.L. 240.20, and Harassment under P.L. 240.26(1).

       17.      Plaintiff was arraigned on November 26, 2012, and released on his own

recognizance.

       18.      At the time of Plaintiff’s arrest, his camera equipment and press credential were

confiscated. As a result, Plaintiff was unable to work. On August 10, 2012, Plaintiff’s camera

equipment was returned to him, but his press credential was not.

       19.      On August 23, 2012, Plaintiff’s press credential was returned to him. However, he

was issued a press credential with a different expiration date. The credential that had been taken

from him expired on January 15, 2013, and the credential returned to him expired on November

30, 2012. Each new credential issued to plaintiff expired on his next scheduled court date.

       20.      The majority of Plaintiff’s work involved photographing the interactions between

police and citizens. Following his arrest, he was no longer given these assignments.

       21.      An internal police department investigation of this incident found that there was

no flash attached to Plaintiff’s camera at the time of the incident. The investigation further found

that Plaintiff’s camera could not discharge a flash without an attachment. Photographs taken at

the scene also revealed that no flash was used and no other witnesses reported seeing Plaintiff’s

camera discharge a flash.

       22.      As a result of the police department’s findings, all criminal charges against

Plaintiff stemming from this incident were dismissed in or about April 2013.

       23.      On August 21, 2013, a Bronx grand jury indicted Defendant ACKERMANN for

wrongfully arresting Plaintiff. Defendant ACKERMANN was charged with Falsifying Business

Records in the First and Second Degrees under P.L 175.10 and P.L. 175.05, Tampering with



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Public Records in the First and Second Degrees under P.L. 175.25 and P.L. 175.20, Offering a

False Instrument for Filing in the First and Second Degrees under P.L. 175.35 and P.L. 175.30,

Official Misconduct under P.L. 195.00, and Making a Punishable False Written Statement under

P.L. 210.45.

       24.     Defendant ACKERMANN was arraigned on August 26, 2013 and released on his

own recognizance. He faces a maximum of 7 years imprisonment if convicted of the most

serious charge, Tampering with Public Records in the First Degree, which is a Class D felony.

As of today’s date, Defendant ACKERMANN remains at liberty and a trial date has not been set.

       25.     Defendant ACKERMANN was suspended without pay until the resolution of the

criminal charges against him.



                                     CAUSES OF ACTION

                                FIRST CLAIM: FALSE ARREST

       DEPRIVATION OF RIGHTS UNDER THE FOURTH AND FOURTEENTH
                    AMENDMENTS AND 42 U.S.C. §1983

       26.     Plaintiff re-alleges and incorporates by reference the allegations set forth in each

preceding paragraph as if fully set forth herein.

       27.     The conduct and actions of Defendant ACKERMANN and Defendant DOES 1-6

on August 4, 2012, acting under color of law, in arresting and detaining or causing the arrest and

detention of Plaintiff without probable cause was done intentionally, maliciously, with a

deliberate indifference and/or with a reckless disregard for the natural and probable

consequences of their acts and was done without lawful justification or reason in violation of

Plaintiff’s constitutional rights as guaranteed under the Fourth and Fourteenth Amendments to

the United States Constitution.


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       28.     Defendant ACKERMANN and DOES 1-6 are liable for ordering and/or directly

participating in the acts described herein and for failing to intervene to protect Plaintiff from the

unconstitutional conduct of their fellow officers.

       29.     As a direct and proximate cause of the foregoing, Plaintiff was deprived of his

liberty, was subjected to physical and emotional pain and suffering, and was otherwise damaged

and injured.



                      SECOND CLAIM: MALICIOUS PROSECUTION

       DEPRIVATION OF RIGHTS UNDER THE FOURTH AND FOURTEENTH
                    AMENDMENTS AND 42 U.S.C. §1983

       30.     Plaintiff re-alleges and incorporates by reference the allegations set forth in each

preceding paragraph as if fully set forth herein.

       31.     Defendant ACKERMANN and DOES 1-6, with malice, and knowing that

probable cause did not exist to arrest and prosecute Plaintiff, acting individually and in concert,

caused Plaintiff to be arrested, charged, and prosecuted, thereby violating Plaintiff’s clearly

established right, under the Fourth and Fourteenth Amendments to the United States

Constitution, to be free from unreasonable searches and seizures.

       32.     Specifically, Defendant ACKERMANN and DOES 1-6, with malice, knew or in

the absence of their deliberate and reckless indifference to the truth, should have known that

probable cause did not exist to arrest and prosecute Plaintiff because the essence of the charges

against Plaintiff involved Plaintiff possessing and using a flash to disrupt their arrest of a teenage

girl. It is now an undisputed fact that Plaintiff neither used nor possessed a flash for his camera

on the night in question. Defendant ACKERMANN and DOES 1-6 knew that there was

absolutely no basis for Plaintiff’s arrest and prosecution, but either took actions to continue


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Plaintiff’s wrongful arrest and prosecution, or failed to take actions to prevent Plaintiff’s

wrongful arrest and prosecution.

        33.     Defendant ACKERMANN, acting with malice, knowingly and intentionally

falsified statements of fact in the criminal complaint filed against Plaintiff, statements Defendant

ACKERMANN knew were false but swore were truthful, providing the factual basis for the

wrongful criminal charges filed against Plaintiff. These actions directly resulted in the

continuance of Plaintiff’s malicious prosecution. Defendant ACKERMANN’s fabrication of a

series of events in order to justify the wrongful arrest of Plaintiff violated Plaintiff’s clearly

established constitutional rights.

        34. Defendant ACKERMANN and DOES 1-6 performed the above-described acts with

malice, under color of state law, deliberately, intentionally, or with reckless disregard for the

truth and for Plaintiff’s constitutional rights. No reasonable officer would have believed this

conduct was lawful.

        35.     As a direct and proximate result of the actions of Defendant ACKERMANN and

DOES 1-6, Plaintiff was maliciously prosecuted until the date of the dismissal of the charges

against Plaintiff in April 2013. As a direct result of his malicious prosecution, Plaintiff suffered

loss of employment, loss of his usual work assignments, was subjected to emotional pain and

suffering, and was otherwise damaged and injured.



                 THIRD CLAIM: PUNITIVE DAMAGES
   AGAINST DEFENDANT OFFICER MICHAEL ACKERMANN, In His Official and
                         Individual Capacity

        35.     Plaintiff re-alleges and incorporates by reference the allegations set forth in each

preceding paragraph as if fully set forth herein.



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          36.   Defendant ACKERMANN, In His Official and Individual Capacity, was

indifferent to Plaintiff’s constitutional rights in that ACKERMANN wantonly and maliciously

fabricated the basis for Plaintiff’s wrongful arrest and made false statements under oath which

served as the basis for the wrongful criminal complaint filed against Plaintiff.

          38.   Punitive damages are warranted against Defendant ACKERMANN for his

wanton and malicious conduct toward Plaintiff.



                        FOURTH CLAIM: MUNICIPAL LIABILITY

                    LIABILITY OF DEFENDANT CITY OF NEW YORK
                         FOR CONSTITUTIONAL VIOLATIONS


          39.   Plaintiff incorporates by reference the allegations set forth in each and every

preceding paragraph as if fully set forth herein.

          40.   The CITY OF NEW YORK directly caused the constitutional violations suffered

by Plaintiff, and is liable for the damages suffered by Plaintiff as a result of the conduct of the

defendant officers. The conduct of the defendant officers was a direct consequence of policies

and practices of Defendant CITY OF NEW YORK.

          41.   Upon information and belief, at all times relevant to this complaint, Defendant

CITY OF NEW YORK, acting through its police department, had de facto policies, practices,

customs and usages that condoned and fostered the unconstitutional conduct of the individual

defendants, and were a direct and proximate cause of the damages and injuries complained of

herein.

          42.   These policies, practices, customs, and usages, include inter alia, failing to

properly train, supervise and discipline its police officers, including the defendant officers, and



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failing to adequately investigate citizen complaints of police misconduct, thereby failing to

adequately discourage further constitutional violations on the part of its police officers. Instead,

acts of police misconduct were tolerated by the CITY OF NEW YORK, and the City did not

require appropriate in-service training or re-training of officers who were known to have

engaged in police misconduct.

         43.   At all relevant times herein, Defendant CITY OF NEW YORK, acting through

the NYPD had de facto policies, practices, customs and usages of encouraging and/or tacitly

sanctioning the violation of the constitutional rights of journalists, specifically photojournalists,

to intimidate them and prevent them from photographing the conduct and potential misconduct

of on-duty NYPD police officers.

         44.   More specifically, the CITY OF NEW YORK, acting through the NYPD, had a

policy and practice of failing to properly train its employees and police officers as to the

lawfulness of journalists taking photographs of NYPD police officers while conducting their

official duties, thereby allowing the arrest and detention of persons whose conduct was entirely

legal.

         45.   The CITY OF NEW YORK knew or should have known of the defendant

officers’ propensity to engage in this type of misconduct. Prior to August 4, 2012, the CITY OF

NEW YORK was aware of numerous complaints of police misconduct involving the wrongful

arrests of journalists and photojournalists by the NYPD, especially during the Occupy Wall

Street protests that began the previous year. Despite its knowledge of such incidents of prior

misconduct, the CITY OF NEW YORK failed to take remedial action.

         46.   The wrongful policies, practices, customs and/or usages complained of herein

demonstrated a deliberate indifference on the part of the policymakers of the CITY OF NEW



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YORK to the constitutional rights of persons within the city, and were the direct and proximate

cause of the violations of Plaintiff’s rights alleged herein.

         47.   As a result of the foregoing, Plaintiff was deprived of his liberty, suffered loss of

employment and loss of his usual work assignments, was subjected to emotional pain and

suffering, and was otherwise damaged and injured.



         WHEREFORE,            Plaintiff   demands    the    following    relief    against   Defendants

ACKERMANN and THE CITY OF NEW YORK:

               a.      Compensatory damages in favor of Plaintiff in an amount to be

                       determined by a jury;

               b.      Punitive damages in favor of Plaintiff in an amount to be determined by a

                       jury;

               c.      The convening and empanelling of a jury to consider the merits of the

                       claims herein;

               d.      Costs and interest and attorney’s fees;

               e.      Such other and further relief as this Court may deem just and proper.

Dated:         New York, New York
               July 27, 2015

                                                          _________s/________________
                                                          LEAH M. BUSBY [LB-5589]
                                                          RONALD L. KUBY [RK-1879]
                                                          Law Office of Ronald L. Kuby
                                                          119 West 23rd Street, Suite 900
                                                          New York, New York 10011
                                                          Email: lbusby@kubylaw.com
                                                          (212) 529-0223 (t)
                                                          (212) 529-0644 (f)

                                                          Attorneys for Plaintiff


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